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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                     Case No. 12-81311-CIV-MIDDLEBROOKS/BRANNON

  UNITED STATES COMMODITY                            CASE NO. 9:12-CV-81311-DMM
  FUTURES TRADING COMMISSION,

                Plaintiff,

  v.

  HUNTER WISE COMMODITIES, LLC,
  et al.,
              Defendants.
  ___________________________________/

  Melanie E. Damian, as Receiver of Hunter           ANCILLARY CASE NO. _____________
  Wise Commodities, LLC, Hunter Wise
  Services, LLC, Hunter Wise Credit, LLC,
  And Hunter Wise Trading, LLC,

                Plaintiff,
  v.

  Bullion Investment Corporation
  and Robert Roca,

              Defendants.
  ___________________________________/

                                          COMPLAINT

         Plaintiff, Melanie E. Damian, in her capacity as the Court-appointed Receiver (“Plaintiff”

  or the "Receiver") for Hunter Wise Commodities, LLC (“HW Commodities”), Hunter Wise

  Services, LLC (“HW Services”), Hunter Wise Credit, LLC (“HW Credit”), and Hunter Wise

  Trading, LLC (“HW Trading”) (collectively, the “HW Entities”), files this Complaint stating

  claims for fraudulent transfers and unjust enrichment against Defendants Bullion Investment

  Corporation and Robert Roca (collectively “Defendants”) and states as follows:
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                                            THE PARTIES

         The Receiver

         1.      On February 22, 2013, the United States District Court for the Southern District

  of Florida (the “Receivership Court”) appointed Plaintiff as the Special Monitor and Corporate

  Manager of the HW Entities and other entity defendants in the action styled United States

  Commodity Future Trading Commission v. Hunter Wise Commodities, LLC, et al., Case No. 12-

  81311-CIV-Middlebrooks (the “Receivership Action”). See Receivership Action, ECF # 77 (the

  “Appointment Order”).

         2.      On February 24, 2013, the Receivership Court further defined and expanded

  Plaintiff’s powers, duties and responsibilities in its Order on Plaintiff’s Motion for Preliminary

  Injunction (the “Preliminary Injunction”). See id., ECF #78.

         3.      On May 16, 2014, the Receivership Court entered its Order of Final Judgment,

  Permanent Injunction, Civil Monetary Penalty and Other Equitable Relief (the “Final

  Judgment”), which, among other things, granted Plaintiff “full authority to act as an Equity

  Receiver for the Hunter Wise entity defendants.” See id., ECF #306.

         The Defendants

         4.      At all times material hereto, Defendant Bullion Investment Corporation was

  organized under the laws of the State of Florida, and conducted business with the HW Entities,

  which conducted business, and obtained funds from customers who reside, in the Southern

  District of Florida, California and other jurisdictions.

         5.      At all times material hereto, Defendant Robert Roca was a resident of the State of

  Florida who served as the President of and managed the operations of Defendant Bullion

  Investment Corporation including its transactions with the HW Entities.



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                                  JURISDICTION AND VENUE

         6.      This Court has subject matter jurisdiction over this action pursuant to Title 28,

  United States Code, Section 754, and the principles of ancillary or supplemental jurisdiction

  under Title 28, United States Code, Section 1367.

         7.      This Complaint is brought to accomplish the ends sought and directed by the

  District Court in the Receivership Action, which, among other things, appointed Plaintiff as

  Special Monitor, Corporate Manager and Equity Receiver and authorized her to commence

  actions to recover assets of the Receivership Estate. This action is related to the claims in the

  Receivership Action, over which this Court has original jurisdiction pursuant to Title 28, United

  States Code, Section 1331, in that this action forms “part of the same case or controversy under

  Article III of the United States Constitution.” 28 U.S.C. § 1367(a). Pursuant to the principles of

  ancillary jurisdiction or supplemental jurisdiction, this Court has supplemental jurisdiction over

  the claims set forth herein pursuant to Title 28, United States Code, Section 1367(a).

         8.      This Court has personal jurisdiction over Defendant pursuant to Title 28, United

  States Code, Sections 754 and 1692. Plaintiff was appointed as Equity Receiver in this District;

  the instant Complaint is brought to accomplish the objectives of the Appointment Order, the

  Preliminary Injunction and the Final Judgment; and the property sought by Plaintiff is located in

  multiple districts. Plaintiff has complied with the requirements of Sections 754 and 1692.

         9.      This Court also has personal jurisdiction over Defendants because Defendants are

  Florida residents, who received funds from the HW Entities, which were operating, conducting,

  engaging in, and carrying on a fraudulent business or business venture in, among other locations,

  the Southern District of Florida. The transfers that Defendants received from the HW Entities

  were proceeds from the HW Entities’ fraudulent scheme.



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         10.     Venue is also proper in the Southern District of Florida pursuant to Title 28,

  United States Code, Sections 754 and 1692, because this action is brought to accomplish the

  objectives of the Appointment Order, the Preliminary Injunction and the Final Judgment and is

  thus ancillary to the Court’s exclusive jurisdiction over the Receivership Estate. Further, certain

  of the acts described in this Complaint occurred in the Southern District of Florida, and victims

  of the HW Entities’ fraudulent scheme were located in the Southern District of Florida.

                                 THE RECEIVER’S STANDING
                           TO BRING THE CLAIMS ASSERTED HEREIN

         11.     The Receiver has standing to bring these claims pursuant to the Court’s

  Appointment Order and Final Judgment [Receivership Action, ECF # 77 and 306, respectively].

  The Appointment Order specifically requires the Receiver “[t]o take exclusive custody, control

  and possession of all funds, property, and other assets in the possession of, or under the control

  of [the Entity Defendants].” See Receivership Action, ECF #77 at ¶ 21.A. The Appointment

  Order also grants the Receiver full power “to sue for, collect, receive and take possession of all

  goods, chattels, rights, credits, moneys, effects, lands, leases, books, records, work papers, and

  records of accounts….” Id. The Appointment Order further provides that the Receiver is

  directed and authorized “to initiate, defend, compromise, adjust, intervene in, dispose of, or

  become a party to any actions or proceedings in any state, federal or foreign jurisdiction as

  necessary to carry out the duties pursuant to [the Appointment] Order.” Id. at ¶ 21.G.

         12.     The Receiver also has standing to bring this action pursuant to Title 28, United

  States Code, Section 754, which provides that “[a] receiver appointed in any civil action or

  proceeding involving property, real, personal or mixed, situated in different districts shall . . . be

  vested with complete jurisdiction and control of all such property with the right to take

  possession thereof [and] shall have capacity to sue in any district without ancillary


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  appointment[.]” As set forth above, the Receiver has complied with the requirements set forth in

  Title 28, United States Code, Sections 754 and 1692.

          13.    Further, the Receiver, standing in the HW Entities’ shoes, has legal claims as a

  “creditor” of the HW Entities, as defined by the California Uniform Fraudulent Transfer Act

  Ann. Cal. Civ. Code §§ 3439.01, et seq.

                                      FACTUAL ALLEGATIONS

          The HW Entities

          14.    HW Commodities, LLC originally was organized in 2007 as a California limited

  liability company. In January 2010, HW Commodities converted to a Nevada limited liability

  company but continued to run its operations from its headquarters in Irvine, California. HW

  Commodities held itself out as “a physical commodity trading company, wholesaler, market

  maker, back-office support service provider, and finance company” that offers off-exchange

  financed commodity trading in physical metals.

          15.    At all times material hereto, HW Services, HW Credit, and HW Trading were

  wholly owned subsidiaries of HW Commodities. HW Credit and HW Trading are Nevada

  limited liability companies, and HW Services is a California limited liability company.

  Together, the HW Entities operated as a common enterprise under common ownership and

  control from their headquarters in Irvine, California.

          16.    At all times material hereto, Defendant Bullion Investment Corporation was a

  retail dealer working to solicit customers and execute financed transactions with the HW

  Entities.

          17.    At all times material hereto, Defendant Roca was the President and shareholder of

  Defendant Bullion Investment Corporation in charge of its operations, soliciting customers on its



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  behalf and responsible for carrying out the transactions between Bullion Investment Corporation

  and the HW Entities.

         18.    Defendant Roca was also a subsequent transferee of the Transfers initially

  transferred from the HW Entities to Defendant Bullion Investment Corporation.

         Overview of the HW Entities’ Fraudulent Scheme

         19.    The HW Entities offered retail customers two types of transactions: (1) the

  purchase or sale of physical precious metals, and (2) off-exchange trading of gold, silver,

  platinum, palladium, and copper on a leveraged, margined or financed basis. In the latter

  transactions, the retail customers were led to believe that they purchased physical commodities

  and paid only a portion of the purchase price and financed the balance of the purchase price.

  These types of “financed” transactions constituted the vast majority of the HW Entities’

  business.

         20.    The HW Entities used a network of retail dealers and telemarketing firms

  (collectively, the “dealers”), like Defendant Bullion Investment Corporation, many of which

  were located in South Florida, to solicit retail customers and execute financed transactions with

  the HW Entities. The HW Entities also used an intermediary entity, Lloyds Commodities, LLC

  (“Lloyds”), located in Palm Beach Gardens, Florida, to execute financed transactions between

  the dealers and the HW Entities. Lloyds functioned principally to accept orders and funds from

  dealers on behalf of customers and to transmit the orders and funds to the HW Entities.

  Generally, the customers entered into agreements with their dealers, and the dealers entered into

  agreements either with HW Commodities or with Lloyds or both. These agreements governed

  the customers’ purchases and sales of the precious metals, as well as the financing and data

  processing service, and were an integral part of the HW Entities’ scheme.



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          21.    The HW Entities and their dealers’ marketing materials and websites

  misrepresented that (1) retail customers could purchase physical commodities, including gold,

  silver, copper, platinum, and palladium, by paying as little as 20-25% of the purchase price; (2)

  the dealers would lend the customers the remaining portion of the purchase price and charge the

  customer interest on the loan; (3) the customer would receive title to the physical commodities

  after the financed purchase; and (4) the dealers would store the physical commodities at an

  independent depository on the customers’ behalf and customers would be charged a “storage

  fee”.

          22.    After signing account agreements with the dealers, the end customers would place

  either long (buy) or short (sell) trades to speculate on the price movement of metals. Once the

  customers agreed to place orders to purchase or sell metals, the dealers contacted the HW

  Entities or Lloyds, which would then contact the HW Entities, to enter the trades for the

  customers. The dealers then collected the customer funds and sent them to the HW Entities or to

  Lloyds, which would forward the funds to the HW Entities.

          23.    Customers were charged a commission, a price spread (a mark-up or mark-down

  from the current price of the metals), interest on the purported loan, and other fees until the long

  or short trading position was offset. The HW Entities would compensate the dealers and Lloyds

  with a portion of the fees and charges paid by the customers for the transactions.

          24.    The customers’ equity increased or decreased as prices of metals fluctuated, while

  also subject to depletion on a daily basis by interest and service fees. When customers’ equity

  fell below 15% of the value of their total trading position, the customers received margin calls,

  requiring the customers to deposit additional funds in order to maintain their trading positions. If

  the customers’ equity dropped to 9%, any open trading positions were liquidated and the

  customers would generally lose their entire investments.

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         25.     The overwhelming majority of the HW Entities’ end customers who entered into

  financed transactions with the HW Entities, through the dealers or Lloyds, lost money as a result

  of those transactions, and those losses were compounded by the high commissions and fees that

  the HW Entities charged. Neither the HW Entities nor its dealers or Lloyds disclosed those

  losses to customers when soliciting them to open new accounts. Many of the end customers who

  were victims of the HW Entities’ scheme were located in South Florida.

         The Dodd-Frank Act

         26.     On July 16, 2011, Section 742 of the Dodd-Frank Wall Street Reform and

  Consumer Protection Act of 2010 (the “Dodd-Frank Act”) went into effect. The Dodd-Frank

  Act broadened the scope of the Commodity Future Trading Commission’s (“CFTC”) jurisdiction

  to include financed commodity transactions with retail customers. Specifically, this broadened

  jurisdiction required that such transactions be executed on an exchange and subjected these

  transactions to anti-fraud provisions as set forth in Sections 4(a) and 4(b) of the Commodity

  Exchange Act (the “CEA”), as amended by the Dodd-Frank Act (see 7 U.S.C. §§ 2(c)(2)(D),

  6(a), 6b, 9, and 15), and the CFTC’s regulations promulgated thereunder (see 17 C.F.R. §§ 1.1,

  et seq. (2012)). In addition, effective August 15, 2011, Section 753 of the Dodd-Frank Act

  amended Section 6(c) of the CEA, 7 U.S.C. §§ 9 and 15, broadening the CFTC’s anti-fraud

  jurisdiction as set out in 17 C.F.R. § 180.1.

         27.     The Dodd-Frank Act amendments to the CEA require that commodity

  transactions with individual consumers (like the end customers here) on a leveraged or margined

  basis or financed by the offeror (like the financed transactions engaged in by the HW Entities)

  must be done on a regulated commodity exchange. The Dodd-Frank Act allows for exceptions

  to this requirement if the financed commodities, here the precious metals, are actually delivered

  to the end customer within twenty-eight (28) days of the transaction or if the applicable contract

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  creates an enforceable obligation to deliver between a seller and a buyer that have the ability to

  deliver and accept delivery. See 7 U.S.C. § 2(c)(2)(D).

         The HW Entities’ Violations of the Dodd-Frank Act

         28.      The HW Entities claimed to supply physical metals to, and provide financing for,

  financed metals transactions marketed by their dealers. The HW Entities, however, did not

  generally buy, sell, loan, store, or transfer physical metals in connection with financed metals

  transactions.   Instead, the HW Entities recorded and tracked customer orders and trading

  positions, and then managed its exposure to those retail customer’s trading positions by trading

  derivatives, such as futures, forwards, and rolling spot contracts in its own margin trading

  accounts.

         29.      The HW Entities allowed customers to take “long” trading positions through

  purported purchases of metals, and “short” trading positions through what it called “commodity

  loans.” When it received an order and the necessary customer funds from a dealer or Lloyds, the

  HW Entities made a book entry in a database reflecting the retail customer’s transaction.

         30.      The HW Entities would aggregate the funds it received from the dealers and

  Lloyds and deposit those funds in its own bank accounts. The HW Entities then deposited a

  portion of those funds in margin trading accounts in the name of a HW Entity with a precious

  metals supplier or trading institution with which the HW Entities had signed trading account

  agreements on behalf of the HW Entities.

         31.      At no time during the relevant period at issue in this Complaint did the HW

  Entities have an inventory of physical precious metals that it sold or loaned to customers in

  connection with financed metals transactions. The HW Entities did not (with few exceptions)

  pay in full for the purchase of commodities through its margin trading accounts. Instead, the

  HW Entities deposited funds with the metals suppliers or trading institutions as margin in order

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   to trade metals futures or forward contracts on their own behalf. The HW Entities traded in their

   margin accounts to manage their exposure to customer orders.

          32.     The HW Entities’ trading in their margin accounts did not involve the shipment,

   receipt, or storage of physical metals. The trading institutions with which the HW Entities

   placed their margin trades did not actually deliver any physical commodities to the HW Entities.

          33.     The HW Entities did not own, possess, or have title to any metals as a result of its

   margin trades, and neither did the HW Entities’ customers. Any invested equity that the HW

   Entities did have in trading accounts was never assigned to specific end customers nor to their

   dealers.

          34.     The HW Entities did not actually deliver any physical commodities to any of its

   intermediaries (including but not limited to Lloyds), dealers, or any end customers in connection

   with financed commodity transactions.

          35.     As a result of the above-described business model, put in place, operated, and

   overseen by the HW Entities, the HW Entities operated in violation of the Dodd-Frank Act.

   Further, the HW Entities’ equity derived from its business operations was highly leveraged.

          The CFTC Enforcement Action

          36.     On December 5, 2012, the CFTC filed a complaint against the HW Entities and

   related entities including dealers of the HW Entities and their principals, for injunctive and other

   equitable relief and penalties under the CEA and the Dodd-Frank Act, alleging, among other

   things, that the HW Entities offered and executed transactions for the purchase and sale of

   precious metals in violation of those Acts. See Receivership Action, ECF #1.

          37.     That same day, the CFTC also filed a Motion for Preliminary Injunction, seeking

   to enjoin the HW Entities, Mr. Martin, Mr. Jager, and related entities including dealers of the



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   HW Entities and their principals, from continuing their operations and further violations of the

   CEA and the Dodd-Frank Act, and the appointment of a receiver. See id., ECF #4.

             38.   On February 22, 2013, following a hearing on the CFTC’s Motion for Preliminary

   Injunction, the Receivership Court entered the Appointment Order.

             39.   On February 25, 2013, the Receivership Court entered the Injunction Order.

             40.   Subsequently, Mr. Martin and Mr. Jager appealed the Receivership Court’s

   Injunction Order.

             41.   On February 19, 2014, the Receivership Court entered its Order on the Parties’

   Motions for Summary Judgment, granting the CFTC’s Motion for Summary Judgment on Count

   One of its complaint, determining that the HW Entities, Mr. Martin, Mr. Jager, and certain other

   defendants violated certain sections of the CEA and the Dodd-Frank Act, and on Count Twelve,

   determining that the HW Entities failed to register as Futures Commission Merchants in

   violation of those Acts, and denying the defendants’ Counter Motion for Summary Judgment on

   all Counts of the CFTC’s complaint. See id., ECF #281.

             42.   On April 15, 2014, the United States Court of Appeals for the Eleventh Circuit

   entered its opinion affirming the Receivership Court’s Injunction Order. See 749 F.3d 967

   (2014).

             43.   On May 16, 2014, after a trial on the remaining Counts of the CFTC complaint,

   the Receivership Court entered an Opinion and Order in which the Court, among other things,

   found that the HW Entities “misrepresented facts about the precious metals transactions it

   oversaw… [and] directly and indirectly led the retail customers to believe metals were stored on

   their behalf.” See Receivership Action, ECF #303 at p.31 (as amended on May 22, 2014 at ECF

   #308). The Court further found that [the HW Entities] failed to inform [retail customers] that the

   metals it purchased were on a financed basis, it did not own the metals, and the metals, if there

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   were any at all, were not in the retail customers’ names.” Id. Accordingly, the Receivership

   Court held that the CFTC established by a preponderance of evidence that the HW entities, Mr.

   Martin and Mr. Jager committed fraud and aided and abetted the Lloyds entity defendants

   and the dealer defendants in defrauding the end customers, in violation of the CEA, the Dodd-

   Frank Act, and the CFTC’s regulations promulgated thereunder. See id., ECF # 303.

          44.     Also on May 16, 2014, the Receivership Court entered its Order of Final

   Judgment, Permanent Injunction, Civil Monetary Penalty and Other Equitable Relief (the “Final

   Judgment”), which, among other things, ordered the HW entities and their principals Harold

   Edward Martin, Jr. and Fred Jager, jointly and severally, to pay restitution in the amount of

   $52,643,399.19 and a civil monetary penalty in the amount of $55,445,892.39 (which represents

   triple their monetary gain as a result of their wrongdoing). See id., ECF #306 at pp. 4 and 7.

          45.     No party appealed the Receivership Court’s Opinion and Order or Final

   Judgment.

          The Insolvency of the HW Entities

          46.     As a result of operating a fraudulent scheme, the HW Entities were insolvent,

   undercapitalized, and operating at a loss.     From inception, the HW Entities did not have

   sufficient assets to pay their debts to customers and creditors as those debts became due.

          Transfers to Defendants

          47.     From August 11, 2011 to February 11, 2013, HW Credit transferred funds in the

   amount of $1,107,630.80 (collectively, the “Transfers”) to Defendant Bullion Investment

   Corporation. The Transfers originated from HW Credit’s bank accounts located in California.

   See Summary of Disbursements, attached hereto as Exhibit A.

          48.     The Transfers were made in a series of eighty-two (82) transfers from HW Credit

   to Defendant Bullion Investment Corporation.

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          49.     Upon information and belief, Defendant Bullion Investment Corporation

   subsequently made transfers of these funds to its President and shareholder, Defendant Roca.

          50.     The funds comprising the Transfers to the Defendants were funds that HW Credit

   fraudulently obtained from customers.

          51.     Defendants solicited these defrauded customers and received the Transfers as

   commissions, interest, price mark-ups or mark-downs and other fees, without providing

   reasonably equivalent value in exchange for those Transfers.

          52.     The HW Entities, and thereby the Receivership Estate, have been damaged

   significantly as a direct and proximate result of the Transfers made to Defendants as alleged

   above. Such damages include, but are not limited to, losses due to the dissipation of customer

   and investor funds for which no reasonably equivalent value was provided and other and further

   compensatory and consequential damages.

          53.     Accordingly, the Receiver brings the instant action in order to collect monies that

   were improperly transferred, dissipated, misappropriated, or lost from the HW Entities as a result

   of the fraudulent transfers to, and unjust enrichment of, Defendants.

          54.     All conditions precedent to the bringing of this action have been performed or

   satisfied or have occurred.

          55.     This action is brought within the pertinent statutory limitations period.

          56.     Given that HW Credit and the other HW Entities, were all operated from their

   headquarters in Irvine, California, the transactions with Defendants were carried out in California

   and the Transfers came from bank accounts located in California, California law applies to the

   claims brought herein.




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                                        CLAIMS FOR RELIEF

                                                COUNT I

                                   AGAINST ALL DEFENDANTS

                 (Fraudulent Transfer under Ann. Cal. Civ. Code, § 3439.04(a)(1)
                     and California Common Law Fraudulent Conveyance)

          57.     Plaintiff repeats, re-alleges and incorporates by reference the allegations set forth

   in paragraphs 1 through 56 of this Complaint as if fully set forth herein.

          58.     This is a claim to avoid and recover a fraudulent transfer pursuant to Ann. Cal.

   Civ. Code, § 3439.04(a)(1) and pursuant to California common law on fraudulent conveyance.

          59.     As detailed above, HW Credit transferred $1,107,630.80 to Defendant Bullion

   Investment Corporation.

          60.     Defendant Bullion Investment Corporation received the $1,107,630.80 from HW

   Credit without providing reasonably equivalent value in exchange for the Transfers.

          61.     At the time that HW Credit made the Transfers, it was operating a fraudulent

   scheme, was insolvent, and was engaged in a business or transaction for which its remaining

   assets were unreasonably small in relation to the business or transaction.

          62.     When HW Credit made the Transfers to Defendant Bullion Investment

   Corporation, HW Credit intended to incur, or believed or reasonably should have believed that it

   would incur, debts beyond its ability to pay them as they became due.

          63.     Thus, HW Credit had the actual intent to delay, hinder, or defraud creditors, and

   made the Transfers to delay, hinder, or defraud creditors. Consequently, the Transfers were

   inherently fraudulent pursuant to Ann. Cal. Civ. Code, § 3439.04(a)(1) and pursuant to

   California common law on fraudulent conveyance.




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           64.    Upon information and belief, Defendant Bullion Investment Corporation

   subsequently transferred all or some of the Transfers to its President and shareholder Defendant

   Roca.

           65.    Because the Transfers were fraudulent under Ann. Cal. Civ. Code, §

   3439.04(a)(1) and under California common law on fraudulent conveyances, the Receiver may

   avoid the Transfers, and any portion thereof which was subsequently transferred to Defendant

   Roca, pursuant to Ann. Cal. Civ. Code, §§ 3439.07(a)(1) and 3439.08(b)(2) and under California

   common law on fraudulent conveyance.

           66.    As a direct and proximate result of HW Credit’s fraudulent Transfers to

   Defendant Bullion Investment Corporation, the Receivership Estate has been diminished in the

   amount of $1,107,630.80, and the remaining assets of the Receivership Estate are insufficient to

   pay the Receivership Estate’s debts and liabilities, including, most notably, the claims of the

   customers and creditors who were defrauded by the HW Entities.

           WHEREFORE, Plaintiff, Melanie E. Damian, as the Receiver for the HW Entities,

   respectfully requests that the Court enter judgment against Defendants: (1) determining that the

   Transfers from HW Credit to Defendant Bullion Investment Corporation were fraudulent and

   avoiding those Transfers and any portion thereof which was subsequently transferred to

   Defendant Roca; (2) entering a money judgment against Defendants in the full amount of the

   Transfers to Defendant Bullion Investment Corporation and to Defendant Roca as subsequent

   transferee, and, if necessary, imposing a constructive trust and/or equitable lien on the funds or

   other assets traceable to such Transfers; (3) awarding Plaintiff damages, costs, and interest; and

   (4) granting such other and further relief as may be just and proper.




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                                               COUNT II

                                     AGAINST ALL DEFENDANTS

                 (Fraudulent Transfer under Ann. Cal. Civ. Code, §§ 3439.04(a)(2)
                                          and 3439.05)

          67.     Plaintiff repeats, re-alleges and incorporates by reference the allegations set forth

   in paragraphs 1 through 56 of this Complaint as if fully set forth herein.

          68.     This is a claim to avoid and recover fraudulent transfers, pursuant to Ann. Cal.

   Civ. Code, §§ 3439.04(a)(2) and 3439.05.

          69.     As detailed above, HW Credit transferred $1,107,630.80 to Defendant Bullion

   Investment Corporation.

          70.     Defendant Bullion Investment Corporation received the Transfers in the total

   amount of $1,107,630.80 from HW Credit without providing reasonably equivalent value in

   exchange for the Transfers.

          71.     HW Entities had creditors whose claims arose before HW Credit made the

   Transfers to Defendant Bullion Investment Corporation.

          72.     HW Credit did not receive reasonably equivalent value in exchange for the

   Transfers to Defendant Bullion Investment Corporation, as detailed above. Indeed, Defendants

   have made no payments and provided no value to HW Credit or the Receivership Estate, and,

   thus, Defendants received a profit of $1,107,630.80 from HW Credit.

          73.     When HW Credit made the Transfers to Defendant Bullion Investment

   Corporation, the assets remaining in HW Credit’s business were unreasonably small in relation

   to the business or transaction.




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           74.      When HW Credit made the Transfers to Defendant Bullion Investment

   Corporation, HW Credit intended to incur, or believed or reasonably should have believed that it

   would incur, debts beyond its ability to pay them as they became due.

           75.      Upon information and belief, Defendant Bullion Investment Corporation

   subsequently transferred all or some of the Transfers to its President and shareholder Defendant

   Roca.

           76.      Because the Transfers are fraudulent under Ann. Cal. Civ. Code, §§ 3439.04(a)(2)

   and 3439.05, the Receiver may avoid the Transfers and any portion thereof subsequently

   transferred to Defendant Roca pursuant to Ann. Cal. Civ. Code, §§ 3439.07(a)(1) and

   3439.08(b)(2).

           77.      As a direct and proximate result of HW Credit’s fraudulent Transfers to

   Defendant Bullion Investment Corporation, the Receivership Estate has been diminished in the

   amount of $1,107,630.80 and the remaining assets of the Receivership Estate are insufficient to

   pay the Receivership Estate’s debts and liabilities, including, most notably, the claims of the

   customers and creditors who were defrauded by the HW Entities.

           WHEREFORE, Plaintiff, Melanie E. Damian, as the Receiver for HW Credit,

   respectfully requests the Court enter judgment against Defendants: (1) determining that the

   Transfers from HW Credit to Defendant Bullion Investment Corporation were fraudulent and

   avoiding those Transfers and any portion thereof which was subsequently transferred to

   Defendant Roca; (2) entering a money judgment against Defendants in the full amount of the

   Transfers to Defendant Bullion Investment Corporation and to Defendant Roca as subsequent

   transferee, and, if necessary, imposing a constructive trust and/or equitable lien on the funds or

   other assets traceable to such Transfers; (3) awarding Plaintiff damages, costs, and interest; and

   (4) granting such other and further relief as may be just and proper.



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                                               COUNT III

                                   AGAINST ALL DEFENDANTS

                               (Unjust Enrichment as to the Transfers)

          78.     Plaintiff repeats and re-alleges and incorporate by reference the allegations set

   forth in paragraphs 1 through 56 of this Complaint as if fully set forth herein.

          79.     HW Credit conferred a benefit on Defendants when it made the Transfers to

   Defendant Bullion Investment Corporation in the amount of $1,107,630.80, all of which were

   derived from the customers of the HW Entities.

          80.     Defendants had knowledge of the benefit they received from HW Credit as a

   result of the Transfers and voluntarily accepted and retained the benefit conferred.

          81.     It is inherently unfair and inequitable that the funds of customers defrauded in

   HW Credit’s fraudulent scheme are retained by and used to personally benefit Defendants, rather

   than being returned to the Receivership Estate for the benefit of all of the defrauded customers.

          82.     As a direct and proximate result of Defendants’ retention of the $1,107,630.80

   that HW Credit fraudulently transferred to Defendant Bullion Investment Corporation and which

   was subsequently transferred to Defendant Roca, the Receivership Estate has been diminished,

   and, under the circumstances, equity dictates that Defendants should return the funds they

   received from HW Credit, and any assets they may have acquired with those funds, to the

   Receiver for the benefit of all of the defrauded customers.

          WHEREFORE, Plaintiff, Melanie E. Damian, as the Receiver for HW Credit,

   respectfully requests the Court enter judgment against Defendants: (1) determining that

   Defendants were unjustly enriched by virtue of their receipt of the Transfers from HW Credit as

   initial or subsequent transferees; (2) entering a money judgment against Defendants, in the full

   amount of the Transfers, and, if necessary, imposing a constructive trust and/or equitable lien on


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   the funds or other assets traceable to such Transfers; (3) awarding Plaintiff damages, costs, and

   interest; and (4) granting such other and further relief as may be just and proper.



          Dated: March 11, 2015.

                                                 Respectfully submitted,

                                                 DAMIAN & VALORI, LLP
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                                                 /s/ Kenneth Dante Murena
                                                 KENNETH DANTE MURENA, P.A.
                                                 FLORIDA BAR NO. 147486




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